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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

 ST. DOMINIC ACADEMY, a d/b/a of the
 ROMAN CATHOLIC BISHOP OF PORT-
 LAND, a corporation sole; ROMAN CATH-
 OLIC BISHOP OF PORTLAND, a corpora-
 tion sole; and KEITH and VALORI RA-                            No. 2:23-cv-00246
 DONIS, on their own behalf and as next
 friends of their children K.Q.R., L.R.R., and
 L.T.R.,

          Plaintiffs,

     v.

 A. PENDER MAKIN, in her personal capac-
 ity and in her official capacity as Commis-
 sioner of the Maine Department of Education,
 and JEFFERSON ASHBY, EDWARD DA-
 VID, JULIE ANN O’BRIEN, MARK
 WALKER, and THOMAS DOUGLAS, in
 their personal capacities and in their official
 capacities as Commissioners of the Maine
 Human Rights Commission,

          Defendants.




          UNOPPOSED MOTION FOR LEAVE TO FILE REPLY MEMORANDUM
                      IN EXCESS OF PAGE LIMITATION
   Plaintiffs respectfully move for leave to file a reply memorandum in support of their motion

for preliminary injunction in excess of the Court’s page limitation. The Local Rules limit such

reply memoranda to seven pages absent prior leave of the Court. See D. Me. Civ. L.R. 7(c), (d).

Plaintiffs respectfully request an additional three pages. Defendants do not oppose this motion.

   This lawsuit challenges Maine’s ongoing efforts to exclude religious schools from the State’s

town tuitioning program through Maine’s human rights law, which was amended in Carson’s

shadow to make it impossible for religious schools to participate while maintaining their religious



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identity. As explained in Plaintiffs’ 20-page memorandum in support of their motion, Maine’s new

regulatory scheme violates Plaintiffs’ First Amendment rights in at least nine different ways. De-

fendants’ 24-page opposition memorandum 1 offers responses to those arguments and introduces

new issues, including Pullman abstention and ripeness.

      Plaintiffs need additional pages to provide an adequate analysis of the numerous legal issues.

Although Plaintiffs will address only the most essential of their claims and Defendants’ conten-

tions in their reply, an additional three pages is necessary to adequately present the legal arguments

the Court will need to resolve the motion.

      Plaintiffs intend to file their reply on or before July 19, and respectfully request that the Court

rule on this motion for leave on an expedited basis.


                                                              Respectfully submitted,
    s/ James B. Haddow                                        /s/ Adèle Auxier Keim
    James B. Haddow                                           Adèle Auxier Keim*
    Maine Bar No. 003340                                      Mark L. Rienzi*
    Petruccelli, Martin & Haddow LLP                          Daniel D. Benson*
    Two Monument Square, Suite 900                            Benjamin A. Fleshman*
    Portland, ME 04112-8555                                   Michael J. O’Brien*†
    Telephone: (207) 775-0200 x 6413                          The Becket Fund for Religious Liberty
    Fax: (207) 775-2360                                       1919 Pennsylvania Ave., NW
                                                                Suite 400
                                                              Washington, DC 20006
                                                              Telephone: (202) 955-0095
                                                              Facsimile: (202) 955-0090

                                                              * Admitted pro hac vice.
                                                              † Not a member of the DC Bar; admitted in
                                                              Louisiana. Practice limited to cases in federal
                                                              court.

                                           Counsel for Plaintiffs




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     At the Court’s July 6 telephonic conference with the parties regarding Plaintiffs’ motion for preliminary injunc-
tion, Defendants orally moved for a four-page extension, which the Court granted. R. Docs. 23, 24.


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                                  CERTIFICATE OF SERVICE

   I certify that on July 14, 2023, I caused the foregoing to be served electronically via the Court’s

electronic filing system on all parties.

                                              /s/ Adèle Auxier Keim
                                              Adèle Auxier Keim




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